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 8

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10

11                       UNITED STATES DISTRICT COURT
12                     CENTRAL DISTRICT OF CALIFORNIA
13                     WESTERN DIVISION AT LOS ANGELES
14     BROIDY CAPITAL MANAGEMENT LLC
       and ELLIOTT BROIDY
15                                                  Case No. 2:18-CV-02421-JFW-E
       Plaintiffs,
16                                                  The Honorable John F. Walter
       v.
17                                                  DECLARATION OF LEAD
       STATE OF QATAR, STONINGTON                   TRIAL COUNSEL RE:
18     STRATEGIES LLC, NICOLAS D. MUZIN,
       GLOBAL RISK ADVISORS LLC, KEVIN              COMPLIANCE WITH
19     CHALKER, DAVID MARK POWELL,                  LOCAL RULES
       MOHAMMED BIN HAMAD BIN                       GOVERNING ELECTRONIC
20     KHALIFA AL THANI, AHMED AL-
       RUMAIHI, and DOES 1-10,                      FILINGS
21
       Defendants.
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 1                        DECLARATION OF BRENDAN R. McGUIRE
 2          I, Brendan R. McGuire, hereby declare as follows:
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            1.     I am a partner at the law firm of Wilmer Cutler Pickering Hale and Dorr
 4
      LLP. I represent Defendant Global Risk Advisors LLC and Defendant Kevin
 5
      Chalker in this action, and I hereby submit this declaration in accordance with
 6
      section 3(a) of Judge John F. Walter’s Standing Order.1
 7

 8          2.     I am Lead Trial Counsel for Defendant Global Risk Advisors LLC and
 9    Defendant Kevin Chalker in this case.
10
            3.     I am registered as an ECF user in the Central District of California, and
11
      my email address of record is brendan.mcguire@wilmerhale.com.
12

13          4.     I consent to electronic service and receipt of filed documents by
14    electronic means.
15
            Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the
16
      foregoing is true and correct.
17

18    Dated: July 12, 2018                    Respectfully submitted,
19
                                              Wilmer Cutler Pickering Hale and Dorr LLP
20

21                                            By: /s/ Brendan R. McGuire
                                              Brendan R. McGuire
22

23                                            Attorney for Defendants Global Risk
                                              Advisors LLC and Kevin Chalker
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       Filing of this notice prior to filing a motion to dismiss should not be construed as
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      indicating consent to jurisdiction on the part of Defendants Global Risk Advisors
      LLC and Kevin Chalker.
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